Case 1:19-cv-01265-AMD-JO Document 5 Filed 03/21/19 Page 1 of 2 PageID #: 22




United States District Court
Eastern District of New York                                  1:19-cv-01265-AMD-JO
Boubacar Sarr individually and on behalf of all
others similarly situated

                                    Plaintiff

                  - against -                              Notice of Voluntary Dismissal
                                                                   with Prejudice

The A2 Milk Company

                                     Defendant

       Plaintiff gives notice this action is voluntarily dismissed with prejudice. Fed. R. Civ. P.

41(a)(1)(A)(i).

Dated: March 21, 2019
                                                               Respectfully submitted,

                                                               Sheehan & Associates, P.C.
                                                               /s/Spencer Sheehan
                                                               Spencer Sheehan
                                                               EDNY Bar Number SS-8533
                                                               505 Northern Blvd., Ste. 311
                                                               Great Neck, NY 11021
                                                               Tel: (516) 303-0552
                                                               Fax: (516) 234-7800
                                                               spencer@spencersheehan.com
Case 1:19-cv-01265-AMD-JO Document 5 Filed 03/21/19 Page 2 of 2 PageID #: 23




1:19-cv-01265-AMD-JO
United States District Court
Eastern District of New York

Boubacar Sarr individually and on behalf of all others similarly situated


                                         Plaintiff


        - against -


The A2 Milk Company

                                         Defendant




                         Notice of Voluntary Dismissal with Prejudice


                                   Sheehan & Associates, P.C.
                                   505 Northern Blvd., Ste. 311
                                     Great Neck, NY 11021
                                      Tel: (516) 303-0552
                                       Fax: (516) 234-7800
                                  spencer@spencersheehan.com



Pursuant to 22 NYCRR 130-1.1, the undersigned, an attorney admitted to practice in the courts of
New York State, certifies that, upon information, and belief, formed after an inquiry reasonable
under the circumstances, the contentions contained in the annexed documents are not frivolous.

Dated: March 21, 2019
                                                                  /s/ Spencer Sheehan
                                                                      Spencer Sheehan
